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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


MRS. UNITED STATES NATIONAL PAGEANT, INC.,


                     Plaintiff,                       PROPOSED DISCOVERY PLAN

       -vs-                                           Civil Action No. 6:18-CV-06587


STEPHANIE L. WILLIAMS, CROWN GARLAND LLC,
and COSMOS INTERNATIONAL PAGEANTS, INC.,

                     Defendants.




       Plaintiff Mrs. United States National Pageant, Inc. (hereinafter “Plaintiff”) and

Defendants Stephanie L. Williams, Crown Garland LLC and Cosmos International

Pageants, Inc. (hereinafter “Defendants”), by and through their respective counsel,

hereby submit this Proposed Discovery Plan in connection with the above matter.

       1.        Consent to Magistrate Judge Jurisdiction: Unanimous consent to

disposition of the case by the Magistrate Judge has been agreed upon at this time.

       2.        FRCP 26(a)(1) (Mandatory Disclosure requirements): The parties

shall comply with the mandatory disclosure requirements set forth in FRCP 26(a)(1) on

or before September 16, 2019.

       3.        Electronic Discovery (Local Rule 16(b)(2):          The parties agree to

produce documents, including electronically stored information, in either multi-page tiff or

pdf format, or in paper copy. The format shall be determined by the producing party from

among these alternatives, unless otherwise ordered by the Court.            Any electronic

production will include appropriate load files, as reasonably necessary. Each image or

page shall bear identifying Bates numbers. Any production in multi-page tiff or pdf format
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shall be contained on one or more CDs, DVDs or other external storage device.

Formatting shall be in accordance with Local Rule 26(e). Any database, spreadsheet, or

PowerPoint presentations must be produced in their native files.

       4.        Filing of Motions to Amend Pleadings or to Add Parties: The parties

shall file motions to amend pleadings on or before August 16, 2019. Any third party action

shall be commenced on or before the same date.

       5.        Deadline for Completion of Fact Discovery:              The parties shall

complete fact discovery on or before February 28, 2020.

       6.        Deadline for Completion of Expert Discovery: Plaintiff shall identify

any expert witness as set forth in FRCP 26(a)(2)(A) and provide written reports or

disclosures pursuant to FRCP 26(2)(B) and/or (C) by March 31, 2020. Defendants shall

identify any expert witness as set forth in FRCP 26(a)(2)(A) and provide written reports

or disclosures pursuant to FRCP 26(2)(B) and/or (C) by April 30, 2020. All expert

discovery, including depositions, shall be completed by June 30, 2020.

       7.        Deadline for Filing Motions to Compel Discovery:            All motions to

compel discovery shall be filed at least thirty (30) days prior to the factual discovery

deadline (by January 28, 2020).

       8.        Protective/Confidentiality Orders [FRCP 26(c)]: In the event that

certain documents containing sensitive information may need to be covered by a

confidentiality order, the party seeking such protection shall propose an order to the Court

with consent of opposing counsel.
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       9.        Limitations on Discovery:        The parties do not anticipate any

changes to the limitations on discovery as provided in Rules 30 and 33 of the Federal

Rules of Civil Procedure.

       10.       Deadline for Filing Dispositive Motions: All       dispositive   motions

shall be filed on or before September 30, 2020.

       11.       Dispute Resolution:      The parties already participated in a Court-

ordered mediation following the Court’s decision in Plaintiff’s Motion for a Preliminary

Injunction.

       12.       Jury Trial: A demand for a jury trial was made in the Complaint. The

parties estimate that the length of such trial would be one week.

Dated: July 18, 2019                     _s/ Laura A. Myers___          ____
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                                         Michael R. Wolford, Esq.
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Dated: July 18, 2019                     __s/ Paul L. Leclair_________________
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